                Case: 23-5795       Document: 55        Filed: 05/30/2025       Page: 1



     IN THE UNITED STATES COURT OF APPEALS​
                            FOR THE SIXTH CIRCUIT
                                                                                           RECEIVED
                                                                                            05/30/2025
                                    Case Nos. 23-5795 & 23-6108                    KELLY L. STEPHENS, Clerk


               HONORABLE ORDER OF KENTUCKY COLONELS, INC.,​
                                          Plaintiff-Appellee,

                                                   v.

                                    COL. DAVID J. WRIGHT,​
                  Individually and on behalf of all other similarly titled individuals.​
                                       Defendant-Appellant




MOTION AMENDMENT OF EXHIBITS EXPANDING
    JUDICIAL NOTICE AND RESPONSE TO
   APPELLEE’S MOTION TO LIMIT FILINGS

Pursuant to Fed. R. Evid. 201, Fed. R. App. P. 10(e), and 28 U.S.C. § 1654 Col. David J. Wright,

Appellant and Pro Se litigant in forma pauperis, respectfully moves this Court to take judicial notice

of adjudicative facts and to permit supplementation of the appellate record as stated in Appellant’s

Motion to Take Judicial Notice [Document 44, Filed: 05/27/2025, Page: 1]. This anticipated filing

incorporates a targeted rebuttal to the Plaintiff-Appellee’s defamatory and procedurally defective

assertions to misdirect this Court with “Plaintiff/Appellee’s Motion For An Order Requiring

Pre-Approval of Further Filings” [Document 53 Filed: 05/29/2025 Page: 1] and justifies the

evidentiary record expansion requested through prior docketed motions. In reality this Motion, the

Amendment, and its Exhibits best compares in the size and suggested scope of the Plaintiff’s own

filings from February 20–24, 2020 [DE-1], [DE-7] and related filings, far exceeding some 500
                Case: 23-5795        Document: 55        Filed: 05/30/2025       Page: 2


pages with more than thirty attached exhibits of nothing except false claims and trademark

applications that the court mistook for famous and incontestable.


This “motion amendment” completes and supports [Document 44], made in good-faith to comply

with Appellant’s Notice Regarding Primary and Supplemental Exhibit Filing and Evidentiary

Materials for Judicial Notice [Document 51]. This amendment is to ensure full and fair review of

the underlying evidence and proceedings, which have been tainted by factual omissions, procedural

suppression, and documented misrepresentations directly affecting the Appellant as a living person

and public figure that have caused him the most irreparable harm and damage to his character and

reputation professionally. This Amendment includes twenty (20) primary exhibits—annotations from

Appendix E—to complement the May 27, 2025 filing.


I. DUAL PURPOSE: RESPONSE AND MOTION AMENDMENT

This filing serves a dual and urgent function in the interests of justice. First, it formally responds to

the Plaintiff-Appellee’s Motion to Require Pre-Approval of Further Filings [Document 53],

which seeks to curtail Appellant’s access to the Court and the appellate record. Second, it amends

and expands Appellant’s prior Motion to Take Judicial Notice, incorporating critical adjudicative

facts, noteworthy historical exhibits, and clarification of the legal basis for voiding District Court

orders obtained through fraudulent means.


Through this combined Motion Amendment and Response, Appellant asserts that the

Plaintiff-Appellee's invocation of judicial process was not protected petitioning activity under the

Noerr-Pennington doctrine, but rather a calculated fraud upon the tribunal designed to secure

unlawful restraints on protected speech and identity. This Court must therefore reject both the

procedural and substantive defenses of HOKC’s actions advanced by the Plaintiff-Appellee and

permit the Appellant to fully preserve, explain, and submit evidence showing that the District Court

orders now under review are void ab initio.
                Case: 23-5795         Document: 55       Filed: 05/30/2025      Page: 3


This motion amendment is grounded in fundamental rights to due process and petition, reinforced by

the Appellant's right to appear pro se under 28 U.S.C. § 1654 and to develop the appellate record

under FRAP 10(e). It seeks not to burden the Court, but to prevent an injustice facilitated by

longstanding historical misrepresentations which the Appellee deliberately institutionalized fiction

and pseudohistory, that made it unique like a secret society with the holy grail; but not a legitimate

custodian or owner of the actual culture, customs, history, heritage, legacy, or tradition that predate

them in 1934 at their first meeting. Accordingly, the Appellant moves the Court to grant this motion

in full and to deny the Plaintiff-Appellee's attempt to limit responsive pleadings in the face of

becoming a spectacle of compelling public and legal interest.




II. JUSTIFICATION FOR COMBINED MOTION AND RESPONSE

This filing constitutes both a Motion Amendment of ‘Exhibits’ to a previously submitted motion
with filing notice and a response to Appellee’s Motion to Limit Filings [Document 53]. Such
combined filings are consistent with Sixth Circuit practice where motions and responses are closely
interrelated, conveniently the very exhibits the Appellee wants to suppress, and where judicial
efficiency can be served. The Federal Rules of Appellate Procedure do not prohibit combining
procedural motions and responsive pleadings, especially where no confusion results. Appellant
clearly identifies each legal basis, addresses the factual overlap, and ensures compliance with FRAP
27 and Sixth Circuit Local Rule 27.

The nature of this appeal—a challenge to the constitutionality, factual basis, and procedural regularity
of District Court orders founded on fraudulent claims—requires that Appellant be allowed to fully
preserve and contextualize the historical and adjudicative record to demonstrate more than thirteen
material injustices during the US District Court proceeding. Combining procedural motions with
tailored responses serves the Court’s interest in comprehensive, concise, and efficient case
management.
                Case: 23-5795       Document: 55        Filed: 05/30/2025       Page: 4


III. RESPONSE TO DOCUMENT 53 – APPELLEE’S MOTION TO
LIMIT FILINGS

Appellant Col. David J. Wright respectfully opposes the Plaintiff-Appellee’s Motion to Require
Pre-Approval of Further Filings [Document 53]. This opposition is not merely procedural—it is
constitutional. The Appellee’s attempt to bar the Appellant from submitting further motions or
notices violates the First Amendment, due process, and the right of a self-represented litigant to fully
develop the appellate record under 28 U.S.C. § 1654. Courts have consistently cautioned that
restrictions on filings must be narrowly tailored and must not obstruct a party’s access to judicial
redress (Procup v. Strickland, 792 F.2d 1069, 1074 (11th Cir. 1986) (en banc)).

The Plaintiff-Appellee initiated this litigation by filing a Verified Complaint premised on
demonstrably false historical claims [W.D. Ky. Case No. 3:20-cv-00132, DE 1-1, at 23–25], while
falsely asserting that the Kentucky Colonel title originated in 1813 and fraudulently attributing to
itself the identity of the pre-existing Kentucky Colonels Association in 1931. It misled the court to
believe it is a membership organization when in law it is not. Having invited this controversy through
its own representations to the USPTO and the federal courts, the Plaintiff-Appellee cannot now seek
to gag the Appellant from introducing rebuttal evidence. As the Supreme Court has long held,
“[t]ampering with the administration of justice … involves far more than an injury to a single litigant.
It is a wrong against the institutions set up to protect and safeguard the public” (Hazel-Atlas Glass
Co. v. Hartford-Empire Co., 322 U.S. 238, 246 (1944)).

Rather than being vexatious, the Appellant’s filings respond directly to the core issues under appeal:
whether fraud upon the court occurred, whether the court was misled by the Appellee's historical
narrative, whether the injunction was overbroad and unconstitutional, and whether due process was
violated through judicial suppression. Courts generally disfavor motions to strike and grant them only
when the material in question has no possible relation to the controversy. See Operating Engineers
Local 324 Health Care Plan v. G & W Construction Co., 783 F.3d 1045, 1050 (6th Cir. 2015). The
volume of Appellant’s submissions reflects the scope of historical fraud introduced by the
Plaintiff-Appellee—not litigation abuse.

The Plaintiff-Appellee has spent eighty years embedding falsehoods into America’s historical and
cultural narrative, then used those falsehoods to obtain federal trademark registrations and court
                Case: 23-5795        Document: 55       Filed: 05/30/2025       Page: 5


injunctions to effectively create a monopoly on a title with a mythical 1813 origin. This pattern of
conduct begs the question of fraud with heightened judicial scrutiny. Any judicial notice that is now
being requested arises as a direct and necessary response to that fraudulent foundation that began in
1933. Appellant’s actions are consistent with preserving the integrity of the record and not—as the
Plaintiff-Appellee baselessly claims—an abuse of the appellate process.




IV. FRAUD EXCEPTION: THE NOERR-PENNINGTON DOCTRINE

The Plaintiff-Appellee’s reliance on litigation to suppress Appellant’s speech and competitive
identity is not immunized under the Noerr-Pennington doctrine because the litigation constitutes a
calculated fraud upon the tribunal and the public. As recognized in Professional Real Estate
Investors, Inc. v. Columbia Pictures Industries, Inc., 508 U.S. 49, 60–61 (1993), immunity under
Noerr-Pennington does not extend to “sham litigation,” which includes proceedings brought for the
purpose of interfering with competitors through the use of the judicial process itself, rather than the
outcome of that process.

In this case, the Appellee has weaponized trademark claims and judicial filings to suppress a
public-domain civic title—"Kentucky Colonel"—by fabricating its historical origin and
misappropriating the identity of a 1931 nonprofit fraternal association composed of colonels
appointed under ten successive Kentucky governors. (See Exhibit – Kentucky Colonels Handbook
1930). Such conduct falls squarely within the “fraud exception” to Noerr-Pennington immunity,
recognized when parties make materially false statements to governmental entities or courts with the
intent to restrain lawful competition. See Clipper Exxpress v. Rocky Mountain Motor Tariff Bureau,
Inc., 690 F.2d 1240, 1261–63 (9th Cir. 1982).

The Verified Complaint in W.D. Ky. Case No. 3:20-cv-00132 [DE 1-1, at 23–25] falsely attributed
the creation of the title “Kentucky Colonel” to the Plaintiff-Appellee and misrepresented corporate
history to the USPTO, claiming first-use dates in 1931 based on a government record, refusing to
claim or disclose concurrent users it had knowledge of, thereby securing registrations through
deception. This manufactured narrative using mere trademark applications became the basis for a
series of restraining orders, preliminary and permanent injunctions, and contempt proceedings, all of
                Case: 23-5795        Document: 55         Filed: 05/30/2025     Page: 6


which trace back to a falsified predicate. This is not mere litigation—it is institutionalized fraud
masquerading as a legal claim within the USPTO.

The Sixth Circuit has previously emphasized that courts must carefully examine whether the
underlying litigation is both objectively baseless and brought with an improper motive. Here, the
underlying trademark assertions were not only factually false, but the litigation was timed to stifle
Appellant’s expressive, nonprofit use of historical terminology. Thus, Noerr-Pennington offers no
shield for the Appellee’s actions. Where the Court is “misled or deceived,” the protections of
petitioning immunity are forfeited (Fraud Exception to the Noerr-Pennington Doctrine, at 8–10).

Accordingly, the Plaintiff-Appellee cannot invoke immunity while simultaneously prosecuting a
scheme premised on deceit and judicial manipulation. The fraud exception applies, and the injunctive
relief obtained through that fraud must be invalidated.




V. AMENDMENT FOR JUDICIAL NOTICE

Federal Rules of Evidence 201(b)(2) and (c) state that judicial notice may be taken on the court's

own initiative [when it is provided with the substantial facts], but it is also mandatory if a party

requests it and provides the court with information sufficient to support the notice. There is no

procedural limitation on providing judicial notice, leave is not required. With the extensive number of

Exhibits and relevant historical facts the Court may not hesitate to create its own conclusions based

solely on the collective body of evidence.


A. Facts for Amendment

Appellant also requests this Court to take judicial notice of the following facts:


   1.​ Appellant created the first public-facing "Kentucky Colonels" website in 1998, which
       operated until 2001 and was voluntarily closed under threat of legal action from Wyatt,
       Tarrant & Combs LLP on behalf of the Appellee.
           Case: 23-5795        Document: 55        Filed: 05/30/2025       Page: 7


2.​ From 2007 to 2019, Appellant maintained online community forums and developed the
   unincorporated civil association “Kentucky Colonels International,” involving
   participation from HOKC members, board members, and affiliates.

3.​ In 2017 and 2019, HOKC Executive Director Col. Sherry Crose communicated directly
   with Appellant to express interest in cooperative projects including the Kentucky Colonel
   Registry with Kentucky Colonels International.

4.​ On January 13, 2020, Appellant submitted a merger proposal and draft agreement under
   a Confidentiality Agreement signed by Col. Crose.

5.​ On February 17, 2020, HOKC filed new trademark applications falsely claiming
   first-use dates (1931, 1951) inconsistent with prior federal filings and binding court litigated
   trademark precedent.

6.​ On February 20, 2020, HOKC filed suit via Wyatt, Tarrant & Combs LLP without
   disclosing prior contact or Mr. Theodore Myre’s dual role as HOKC board member and
   law partner.

7.​ From February 20, 2020, HOKC engaged a news and media campaign among Kentucky
   News contacts and sources followed by email to 30,000 or more Kentucky colonels it
   relies on for support to intentionally defame, and isolate a 23 year honorary member.

8.​ On January 11, 2025, the Honorable Order of Kentucky Colonels (HOKC), through its
   legal counsel, invoked language from the Memorandum Opinion and Order
   [DE-129]—the subject of appeal in Case No. 23-5795—to initiate enforcement actions on
   the Facebook platform that resulted in the takedown of Appellant’s social media
   presence and intellectual property. This action led to the removal of at least three Facebook
   groups and five pages, the suspension of Appellant’s personal Facebook profile, and the
   disabling of his access to more than six affiliated business initiatives. These actions also
   disrupted his ability to manage 'Globcal International,' a principal endeavor he founded in
   2009, which is natively structured on the Facebook platform and comprises more than fifty
   active assets under his administration.
                Case: 23-5795       Document: 55        Filed: 05/30/2025      Page: 8


These facts are capable of accurate and ready determination through documentation and platform

records, and is directly relevant to demonstrating specific, reputational, and economic harm caused

by the contested order, they are supported by official court filings ([DE 169], [DE-170], [DE-171],

[DE 176]), public USPTO records, email communications, and contemporaneous media releases—all

of which are subject to verification from public or judicially noticeable sources.


B. Compliance Exhibits

On May 27, 2025 in addition to the “Motion to Take Judicial Notice of Adjudicative Facts and

Correct the Record” [Document 44] the Appellant filed “Notice Regarding Primary and

Supplemental Exhibit Filing and Evidentiary Materials for Judicial Notice” [Document 51],

therefore in compliance the following list with annotations under FRE 1006 represent the “Twenty

Primary Exhibits”, roughly 20% of the over 100 Exhibits subject to judicial notice filed herewith;

further referenced in Appendix E – Section VI (A) Judicial Notice Exhibits Submitted to the

Court unnumbered and unlettered, by title (2001 Public Notice – US Congress).


   1.​ 2001 Public Notice to Members Following Contact from Wyatt, Tarrant & Combs: This
       exhibit is a notice published in 2001 by Col. David J. Wright on the original "First
       Website for Kentucky Colonels" (Colonel.org). The notice was posted after a
       cease-and-desist letter from Wyatt, Tarrant & Combs LLP, representing the Honorable Order
       of Kentucky Colonels (HOKC). The letter instructed Wright to discontinue certain aspects of
       his online Kentucky Colonels recognition business. (This exhibit combined with
       Supplemental Exhibit – 2014-2015 Email Reply from Defendant to Matt Williams–see
       Appendix E [Document: 50 Filed: 05/27/2025 Page: 14]–demonstrates a failure to disclose
       acquiescence and lack of candor with the court as the prosecuting law firm.)

   2.​ Adlai E. Stevenson, Something of Men I Have Known: This exhibit features two chapters
       from a memoir by Adlai E. Stevenson, the 23rd Vice President of the United States under
       President Grover Cleveland. The chapters provide anecdotal accounts of the Kentucky
       Colonel title in the 19th century, predating the creation, idea and rise of the Honorable Order
       of Kentucky Colonels (HOKC) under Gov. Ruby Laffoon.
            Case: 23-5795       Document: 55        Filed: 05/30/2025      Page: 9


3.​ Ambiguous Influence of the Honorable Order of Kentucky Colonels: This exhibit
    documents the historical divergence between the traditional use of the Kentucky Colonel title
    and the narrative promoted by the Honorable Order of Kentucky Colonels (HOKC) following
    its formation. It argues that HOKC reinterpreted the title within a framework of private
    association, spectacle, and philanthropy, rather than continuing earlier traditions.

4.​ Colonel Nimrod Wildfire: The Original Literary Archetype of the Kentucky Colonel:
    This exhibit discusses the earliest known published instance of the phrase "Kentucky
    Colonel," which appeared in 1833 in connection with a play titled The Lion of the West
    (retitled The Kentuckian for British audiences). The play featured the character Colonel
    Nimrod Wildfire, a caricature of the American frontier spirit.

5.​ Fraudulent Succession of 1931 First-Use: This exhibit argues that the Honorable Order of
    Kentucky Colonels (HOKC) misappropriated minutes from the Kentucky Colonels
    Association (est. 1930). It claims that the HOKC presented these "1931 Minutes" as their own
    in legal proceedings to assert rights to the name "Kentucky Colonels," despite evidence that
    the two organizations were separate entities.

6.​ Governor W. O. Bradley 1897 Photo: This exhibit is a photograph of Kentucky Governor
    William O. Bradley and his staff of Kentucky Colonels, taken in 1897. It is presented as
    evidence that the Kentucky Colonel title was an official gubernatorial designation before the
    creation of the Honorable Order of Kentucky Colonels (HOKC) in 1933.

7.​ Historical Markers at Boonesborough: This exhibit contains photos and text from historical
    markers and a monument at or near Fort Boonesborough State Park in Kentucky. These
    markers confirm the early legislative governance of Kentucky and the use of the title
    "Colonel" as a civic leadership designation.

8.​ HOKC Disambiguation: This exhibit shows that the Honorable Order of Kentucky Colonels
    (HOKC) has created ambiguity around the source of the Kentucky Colonel title by negating
    other sources and promoting itself as the origin. It presents newspaper articles as evidence that
    the HOKC was officially established in September 1933, and that the phrase "Honorable
    Order of Kentucky Colonels" is in the public domain.

9.​ Honorable Order of the Blue Goose Photo: This exhibit is a historical photograph of the
    Kentucky Colonel Initiation Team of the Honorable Order of the Blue Goose International
    (HOBGI) from 1939. It suggests that the use of "Kentucky Colonel" in a formal, fraternal
    setting predates the Plaintiff's incorporation and that the HOKC name may have been
    influenced by pre-existing organizations like the HOBGI.
           Case: 23-5795       Document: 55        Filed: 05/30/2025      Page: 10


10.​Internet, Libraries, and Newspapers: This exhibit contains selected resources from
    newspapers, intended to provide evidence of the existence of Kentucky Colonels in American
    history, independent of the Appellee.

11.​Kentucky Colonel—New Vintage © 1969: This exhibit is a narrative portrait by Kentucky
    historian J. Winston Coleman Jr., describing the "Kentucky Colonel" archetype in the early
    1940s. Coleman contrasts the mythical, theatrical version of the Colonel with a real-life
    embodiment of rural intelligence, agrarian independence, and cultural refinement. The exhibit
    emphasizes the Colonel's role as a land steward, scholar, and advocate for leisure, learning,
    and civic companionship.

12.​Kentucky Colonels Handbook © 1930: This handbook provides a detailed account of the
    traditions, responsibilities, and historical recognition of Kentucky Colonels. It serves as
    evidence that the terms "Kentucky Colonel" and "Kentucky Colonels" were widely known
    and publicly recognized before the Honorable Order of Kentucky Colonels (HOKC) was
    founded. Some, but very few of the people named in the handbook are known or ever
    recognized within the HOKC in any significant way.

13.​Kentucky Colonels Newspaper Clippings: This exhibit contains 50 historical newspaper
    articles from a collection of over 500, demonstrating the cultural, civic, and governmental use
    of the title "Kentucky Colonel" from 1872 to 1957. These clippings establish that the term
    was widely recognized as a public honor conferred by Kentucky governors long before the
    emergence of the HOKC.

14.​Kentucky Epitaphs, Landmarks, and Markers: This exhibit highlights the use of the title
    "Colonel" on Kentucky roadside markers and historical monuments. It notes that a significant
    percentage of these markers use the term "Colonel" or "Col.". Examples of individuals
    commemorated include Col. Benjamin Logan, Col. Richard Henderson, and Col. Daniel
    Boone. Approximately 11.4% of these markers use the title, indicating its historical
    significance. The exhibit scratches the surface on Kentucky epitaphs which recognize
    individuals that were Kentucky Colonels.

15.​Kentucky Progress Commission: This exhibit is a summary of the Kentucky Progress
    Commission Magazine series (1928-1936). The magazine, published by a state development
    agency, featured stories and photographs related to Kentucky's history and culture, often
    referencing Kentucky Colonels.

16.​Legal Analysis of HOKC Trademarks: This exhibit provides a legal analysis of the
    trademark filings by the Honorable Order of Kentucky Colonels (HOKC). It argues that
               Case: 23-5795       Document: 55       Filed: 05/30/2025      Page: 11


       HOKC attempted to monopolize the term "Kentucky Colonels" through improper legal tactics
       and that the term is inherently descriptive and not within the public domain.

   17.​Myth of the Kentucky Colonel 1813 Origin: This exhibit consists of communications by the
       Honorable Order of Kentucky Colonels (HOKC) from 1941 through 1985, focusing on the
       1813 origin narrative. It includes the 1941 Derby Eve Dinner Program, which is the earliest
       known source of the claim that the Kentucky Colonel title originated in 1813. The exhibit also
       contains a 1975 HOKC member letter, a 1976 newspaper article, and other communications
       promoting the 1813 origin story.

   18.​Notable and Prominent Kentucky Colonels: This exhibit identifies historical individuals
       who were known or recognized as "Colonel" in Kentucky from 1775 through 1929+. It
       emphasizes that these individuals held the title as a mark of leadership, civic standing, or
       honorary distinction, independently of the HOKC.

   19.​The Kentucky Colonel, A Study in Semantics: This exhibit analyzes two sources from 1947
       that address the historical and semantic meaning of the Kentucky Colonel. It discusses the
       lack of a formal definition for the title and its evolution from colonial militia customs.

   20.​US Congress 1936 Recognition: This exhibit is a Congressional Record from April 2, 1936,
       where Congressman Edward Wester Creal formally recognized the Kentucky Colonel title.
       Creal discussed the historical significance of the title, linking it to military and civic
       contributions. He acknowledged the controversy surrounding the overuse of the title and
       defended its importance to Kentucky's heritage.


C. Overview of Appendix E: Evidentiary Record Supporting Fraud,
Genericness, Descriptiveness, and Extensive Historical Use

Appellant respectfully directs the Court’s attention to Appendix E – Section VI (B) Supplemental

Exhibits for the Sixth Circuit Court [Document 50 Filed: 05/27/2025 Page: 11] and Section VI (C)

Exculpatory Evidence Exhibits of the Appellant [Document 50 Filed: 05/27/2025 Page: 18] which

consolidates over eighty primary exhibits establishing the historical, legal, and constitutional

basis for this appeal. Appendix E is not a mere attachment—it is an integrated evidentiary matrix that

documents the Plaintiff-Appellee’s historical misrepresentations, improper trademark assertions, and

constitutional violations, and it merits judicial consideration under Federal Rule of Evidence 201 and

1006. The Appendix demonstrates through public records, academic literature, USPTO filings,
               Case: 23-5795        Document: 55        Filed: 05/30/2025      Page: 12


historical documents, and government archives that the Plaintiff-Appellee’s claims are rooted in a

sophisticated manufactured origin story that has been institutionally entrenched through the USPTO

and the US Courts that is unsupported by objective fact or public record. Appendix E is linked to

over 25,000 pages of online text at the Library of Congress and Archive.org.


Appendix E includes verified materials such as the 1981 Metry USPTO Application, the Plaintiff’s

2020 trademark filings, early 20th-century literature and commentary on the Kentucky Colonel

identity, 1836 international news coverage from Ireland of Kentucky Colonels as a class of people,

and communications with the Plaintiff-Appellee itself. Together, these documents reveal a consistent

pattern: the Plaintiff-Appellee built its identity and commercial strategy on the appropriation and

institutional distortion of a public honorific title. The evidence collectively undermines the asserted

distinctiveness and goodwill claimed in Plaintiff’s trademark litigation and shows that “Kentucky

Colonel” has always been a public, state-issued, non-commercial civic designation. Moreover, they

illustrate Appellant’s longstanding fair use and expressive engagement with this identity well before

the Plaintiff’s recent enforcement actions.


Appellant has made the full original versions of these exhibits publicly accessible via authenticated

public source links, as indexed and summarized in Appendix E. This complies with the procedural

requirements of FRE 1006 and allows the Court and opposing party to independently verify the

evidence. Appendix E should be reviewed as a foundational record for judicial notice and a basis for

assessing the underlying fraud that taints every order issued against Appellant by the District Court.


D. Supplemental Judicial Commentary Exhibits

Appellant hereby incorporates Exhibit – Supplemental Judicial Commentary 1 and Supplemental

Judicial Commentary 2 into this Motion Supplement pursuant to Federal Rules of Evidence 1006

and 901. These documents provide detailed analytical comparisons of primary and secondary

sources—literary, historical, and scholarly—demonstrating how the Plaintiff-Appellee’s narrative has
                Case: 23-5795       Document: 55        Filed: 05/30/2025      Page: 13


systematically distorted public understanding of the term “Kentucky Colonel.” These exhibits offer a

clear basis for judicial notice and are submitted as evidentiary supplements in support of Appellant’s

argument that the Plaintiff-Appellee’s claims rest upon a constructed historical falsehood designed to

monopolize a public-domain identity. As such, they are not only relevant but necessary to provide the

Court with a full, accurate, authentic, and truthful understanding of the foundational historical record

central to this appeal.




VI. RECORD SUPPLEMENTATION UNDER RULE 10(e)

In light of recent district court rulings [DE 182, DE 183] that refused to consider this evidence,

Appellant moves under Fed. R. App. P. 10(e) to expand the appellate record to include:


    ●​ DE 169 – Notice of Intent to File Rule 11 Sanctions

    ●​ DE 170 – Motion to Recuse with Supporting Declaration (Exhibits)

    ●​ DE 171 – Motion for Judicial Notice (Exhibits)

    ●​ DE 176 – Motion for Rule 11 Sanctions (Exhibits)

    ●​ DE 181 – Amended Objection to Return of TRO Bond

    ●​ Document 36 – Notice of Judicial Suppression (filed in this Court)


These documents “exemplary filings” collectively demonstrate suppression of exculpatory and

adjudicative facts, fraud upon the court, and factual misstatements central to the case's disposition.

Their inclusion is essential for this Court to assess the full procedural and evidentiary record

including any evidence that was judicially entrenched in The Honorable Order of Kentucky Colonels,

Inc v. Building Champions, LLC (3:04-cv-00465) in 2004, consistent with its supervisory obligations.

The Appellant requests that the Court review the docket beginning here [KYWD 3:04-cv 465-JGH

Document 1 Filed 08/12/04 Page 1 of 10 PageID #: 1], prior to reviewing the Opinion by Judge

Heyburn in Honorable Order of Kentucky Colonels v. Building Champions, 345 F. Supp. 2d 716.
               Case: 23-5795        Document: 55        Filed: 05/30/2025       Page: 14


VII. LEGAL BASIS AND JUSTIFICATION
A corporation that uses a historical first-use date of 1931 and a false origin narrative in 1813 to

mislead the government or gain an unfair position in the marketplace shall be held accountable for its

actions historically; all the contrary facts must be examined. This motion is further supported by:


   ●​ Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944) – Courts must address
       fraud upon the judiciary even post-judgment.

   ●​ Demjanjuk v. Petrovsky, 10 F.3d 338 (6th Cir. 1993) – Structural misrepresentation and
       concealment warrant post-[judgment] relief.

   ●​ Fed. R. Evid. 201(b) – Judicial notice is appropriate where facts are capable of accurate and
       ready determination.

   ●​ Fed. R. App. P. 10(e)(2)(B) – Record supplementation is warranted where a material
       omission occurred “by error or accident.”




IV. PRAYER FOR RELIEF

Appellant respectfully requests that this Honorable Court:


   1.​ Take Judicial Notice of the adjudicative facts set forth in this motion in consideration of the
       type and nature of personal injury sustained by the Appellant together with [Document: 44,
       Filed: 05/27/2025, Page: 1].

   2.​ Expand the Record under Fed. R. App. P. 10(e) to include all of the referenced materials.

   3.​ Grant Appellant Leave to file additional motions factual exhibits rebutting HOKC’s origin,
       cancel fraudulent trademark claims, and bring a Motion for a Circuit Court Mediated
       Settlement Conference as requested in Appellant’s Motion for Leave [Document: 37 Filed:
       05/05/2025 Page: 1].
               Case: 23-5795        Document: 55         Filed: 05/30/2025       Page: 15


   4.​ Accept this Motion Amendment as a combined motion and in response to its limitation,
       properly filed under FRAP 27 and Sixth Circuit procedures;

   5.​ Deny Plaintiff-Appellee’s Motion to Limit Filings [Document 53]; and

   6.​ Recognize Appellee’s litigation conduct falls within the fraud exception to the
       Noerr-Pennington doctrine, thereby invalidating any judicial protection or presumption of
       regularity accorded to its trademark-based claims.

   7.​ Issue Any Further Orders as remedies as may be necessary to ensure full and fair appellate
       review in light of record suppression, fraud, and procedural irregularities.

Appellant reserves the right to supplement this record with any exhibits or memoranda specifically
requested by the Court, or as may be necessary by the Appellant to clarify his position as the victim
of bad-faith litigation and correct the record, he submits that all filings are made in good faith, in
furtherance of accurate adjudication, and in accordance with all governing rules and precedents.

Respectfully submitted this 30th day of May, 2025,


Puerto Carreño, Colombia.


                                                        ​

                                                        ​




Col. David J. Wright​

Defendant-Appellant, Pro Se
               Case: 23-5795      Document: 55      Filed: 05/30/2025     Page: 16




                            CERTIFICATE OF SERVICE
I hereby certify that on May 30, 2025, I submitted the foregoing “Motion Amendment” with “20

Exhibits” and “Response to Appellee’s Motion Document 53” for filing via email to the Clerk of the

Court, in accordance with the Court’s procedures for pro se litigants. Upon docketing, the Court’s

CM/ECF system will automatically serve all registered ECF users, including counsel for Appellee.

Deborah S. Hunt, Clerk ​                                                    /s/ Col. David J. Wright​
Sixth Circuit Court of Appeals ​                                  David J. Wright, Pro-se Appellant​
501 Potter Stewart U.S. Courthouse​                                         DATED: May 30, 2025
100 East Fifth Street ​
Cincinnati, Ohio 45202-3988
